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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

                                                  Case No.: 0:21-cv-01603-JNE-ECW
 MINNESOTA LIFE INSURANCE
 COMPANY                                          JOINT STIPULATION FOR
                                                  DISMISSAL OF ACTION WITH
                      Plaintiff,                  PREJUDICE [FRCP 41(a)(1)(ii)]

               -vs-

 SHURWEST HOLDING COMPANY,
 INC., an Arizona corporation; and
 SHURWEST, LLC, an Arizona limited
 liability company, THE QUANTUM
 GROUP USA, LLC, an Arizona limited
 liability company, and Ron Shurts, an
 individual.

                      Defendants.


       Plaintiff Minnesota Life Insurance Company (“Minnesota Life”) and

Defendants Shurwest Holding Company, Inc., Shurwest, LLC, The Quantum Group

USA, LLC and Ronald L. Shurts hereby stipulate under Federal Rule of Civil

Procedure 41(a)(1)(ii) that this action be dismissed with prejudice, with each party

bearing that party’s own attorney’s fees and costs in this action.
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